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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



GAME PLAN, INC.,
    Plaintiff,

       v.                                               Civil Action No. 1:20-cv-00455-DLF

UNINTERRUPTED LLC, NIKE INC., ESPN,
INC., TAKE-TWO INTERACTIVE
SOFTWARE, INC.                                        AMENDED COMPLAINT AND
                                                      DEMAND FOR JURY TRIAL
       Defendants.




       The Plaintiff, Game Plan, Inc. (“Game Plan”), as and for its Complaint against

Defendants, Uninterrupted LLC (“Uninterrupted”), Nike, Inc. (“Nike”), ESPN, Inc. (“ESPN”),

and Take-Two Interactive Software, Inc. (“T2”) (collectively “the Defendants”), by and through

undersigned counsel, hereby alleges as follows:



                                NATURE OF THE ACTION

   1. Game Plan brings this claim against the named Defendants for the Defendants’

unauthorized use of the Plaintiff’s U.S. Registered Trademark 5,487,497. This action

encompasses the following claims: (1) Trademark Infringement under the Lanham Act, 15

U.S.C. § 1114 et seq.; (2) false Designation of Origin under the Lanham Act, 15 U.S.C. §

1125(a); (3) Trademark Dilution under the Lanham Act, 15 U.S.C. §1125(c); (4) unfair

competition; and (5) unjust enrichment. Game Plan seeks injunctive and other equitable relief

and damages against Defendants who respectively operate and control a media content

production company (Uninterrupted), a company that manufactures, designs, and distributes

clothing (NIKE), a production and media broadcasting company (ESPN), and a videogaming and


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virtual arts company (T2). The claims asserted in this Complaint arise under the Lanham Act of

the United States, 15 U.S.C. §1051, et seq.

                                              PARTIES

       2.      Plaintiff, Game Plan, is an independent, section 501(c)(3) nonprofit organization

duly organized under the laws of the State of Maryland, having its headquarters and principal

place of business in Bowie, Maryland. Game Plan is dedicated to enhancing, informing, and

educating the youth to ascend through the ranks of high school and college athletics and

academics in order to attain professional level success whether in sports or otherwise. Game

Plan is providing their products and services to a population that does not have the same access

as others to the information and resources Game Plan provides. Game Plan is able to provide

this information through guest speakers and written programming to help the youth attain the

success they desire. SEE APPENDIX.

       3.      Upon information and belief, Defendant, Uninterrupted, is a limited liability

company, organized under the State laws of Delaware, with its principal place of business in Los

Angeles, California with an additional office, in New York, New York, as it provides media

content and sells clothing product internationally.

       4.          Upon information and belief, Defendant, NIKE, is a publicly traded corporation,

located in Beaverton, Oregon, as it manufactures and sells product and services internationally.

       5.      Upon information and belief, Defendant, ESPN, has its principal place of business

in Bristol, Connecticut, as it provides media content and services internationally.

       6.      Upon information and belief, Defendant, T2, is a corporation, with its principal

place of business in New York, New York, as it provides videogaming content and services

internationally.




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                                    JURISDICTION AND VENUE

       7.       The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 (federal question), and 28 U.S.C. § 1338(a) (trademarks) because this action arises out of

Defendants’ violation of 15 U.S.C. §1114, 1125 and 15 U.S.C. § 1051 et seq. (The Lanham Act).

Additionally, the Court has subject matter jurisdiction over Game Plan’s claims for unfair

competition and unjust enrichment pursuant to 28 U.S.C. § 1367. Furthermore, this Court has

authority in this matter under diversity jurisdiction pursuant to 28 U.S.C. § 1332 because the

parties are citizens of different states and more than $75,000 is in controversy.

       8.      Personal jurisdiction over the Defendants is proper because each has carried on a

continuous and systematic part of its general business within the District of Columbia, including

but not limited to promoting media content (Uninterrupted, NIKE, ESPN, T2), retail products at

their respective websites, (Uninterrupted.com, nike.com, espn.com, nba2k.com) that are

accessible by anyone in the District of Columbia and the world, and each would reasonably

expect to be subject to the jurisdiction of the District. Upon information and belief, these

websites have been accessed in the District of Columbia for commercial purposes, including

some of the Defendants work product being within the District. For example, Nike runs two

brick and mortar retail stores in the District of Columbia.

       9.      Upon information and belief, Uninterrupted, by and through its founder, LeBron

James, saw the use of the mark by Game Plan while in the District of Columbia, as well as

Uninterrupted streaming and sharing content over cable systems and the worldwide web creating

sufficient contacts in the District of Columbia.

       10.     NBA 2K is a videogame played by consumers, using Game Plan’s mark, in the

District of Columbia.

       11.     ESPN aired the media content using Game Plan’s mark in the District of

Columbia.

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       12.     The Court has personal jurisdiction pursuant to the District of Columbia long-arm

statute, D.C. Code § 13-423 (2020), because, among other things, the Defendants have transacted

business in the District of Columbia.

       13.     Venue is proper in the District pursuant to 28 U.S.C. § 1391(b)-(3) and 28 U.S.C.

§ 1391(d) because a substantial part of the events giving rise to Game Plan’s claims has occurred

in this judicial district, because a substantial occurrence in the infringement of the mark was

situated in this judicial district, and because a substantial part of the harm caused by the

Defendants has occurred in this judicial district. Defendants have conducted business and have

utilized instrumentalities located in the District of Columbia to carry out the acts which Game

Plan complains; and the Defendants have utilized customers located in the District of Columbia

causing the harm which Game Plan complains.

       14.     Venue is proper in this judicial district under 28 U.S.C. § 1391(c) because

Defendants are subject to personal jurisdiction in this judicial district.

       15.     An actual, present and justiciable case or controversy has arisen between the

parties. The Defendants have each made use of Game Plan’s mark, to sell products and or

services in the District based on information and belief, and the wide range of retail access and

media streaming by each Defendant, respectively, in the District of Columbia.

                                        FACTUAL BACKGROUND

          Game Plan’s Services, Product and Reputation were harmed by the Defendants

       16.     Defendants, through their infringing activities of counterfeit, copy, and colorable

imitation of the Plaintiff’s mark, knowingly put goods and services into the stream of commerce

as media production, videogaming, and the retail of clothing and clothing bearing a counterfeit,

copy, and or colorable imitation of the Plaintiff’s mark. These actions have caused a likelihood

of confusion, mistake, and deception and continue to cause irreparable injury to Game Plan, its

participants, and the public.

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       17.     The Defendants have each used the Plaintiff’s trademark, or a counterfeit, copy

and colorable imitation thereof, to their financial benefit.

       18.     Game Plan is a charitable organization, registered as a 501(c)(3), that aims to

enrich the lives of America’s youth by providing information, education, and access to resources

to allow their participants in their program to have an opportunity to successfully ascend from

high school to college and be gainfully employed in their desired pursuits.

       19.     Game Plan developed its “1st Place” affirmation (or mantra) to begin and close

each education curriculum program, as well as using the mantra in presentations, and with the

sale of products including t-shirts bearing the logo and word mark “I AM MORE THAN AN

ATHLETE” including the “GP. GAME PLAN” logo.

       20.     These “I AM MORE THAN AN ATHLETE. GP. GAME PLAN” t-shirts were

marketing material for Game Plan and a revenue generator for the non-profit.

       21.     Game Plan, Inc. first filed its application for U.S. Trademark Registration on

December 28, 2016, and the mark was registered on June 5, 2018.

       22.     Game Plan is the owner of the mark: U.S. Registration Number 5,487,497.

       23.     The logo and word mark “I AM MORE THAN AN ATHLETE GP. GAME

PLAN” were used to identify to the public as the source of its goods and services.

       24.     Game Plan’s first use in the stream of commerce was October 8, 2017.

       25.     On October 8, 2017, Game Plan, with its CEO and President, Sam Sesay, and

program participants attended a Washington Wizards basketball game versus the Cleveland

Cavaliers.

       26.     At the game, the President and CEO, and a group of Game Plan Inc. participants

wore the black t-shirts with large, bold, white font across the front of the t-shirt, which identified

the source of the t-shirt and identified the services of the program.



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       27.     The Game Plan participants were able to meet with Washington Wizards’ All-Star

guard, John Wall, during pre-game.

       28.     The group wearing the t-shirts were courtside in close proximity to both the

Washington Wizards’ players and the visiting Cleveland Cavaliers’ players while the players

were preparing for the game.

       29.     The Game Plan participants and its President and CEO took pictures with John

Wall, while seated courtside, with few other spectators in attendance.

       30.     John Wall signed autographs for the kids and posed for pictures with the kids,

while John Wall’s teammates and opponents warmed up for the game, in close proximity.

       31.     Game Plan and its participants remained at the game for its entirety, which was a

cool experience for the Game Plan, Inc. organization and its students.

       32.     The exposure at the game and experience would greatly grow the program and its

awareness to the public.

       33.     The attendance at the game gave Game Plan tremendous exposure, as it was able

to gain attention from John Wall in front of his peers including the (arguably) most famous

athlete in the world, as a member of the Cleveland Cavaliers, at the time, LeBron James, who did

not play that game, but was in attendance.

       34.     Uninterrupted’s unauthorized use of Game Plan’s mark has harmed and

significantly diminished the ability for Game Plan to operate its business of selling t-shirts in the

stream of commerce and making media and live content production and presentations.

                                  The Inception of the Unauthorized Use

       35.     On February 16, 2018, following that Washington Wizards and Cleveland

Cavaliers pre-season NBA basketball game, in Washington, D.C., the most popular athlete in the

world took to Instagram to respond to the now infamous “shut up and dribble” comment made by

news personality, Laura Ingraham, on FOX NEWS.

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       36.    In response to “shut up and dribble,” LeBron James posted a picture to his

Instagram account, capturing a neon light sign bearing the words “I AM MORE THAN AN

ATHLETE.” And, he added a hashtag that read “we will not shut up and dribble.”

       37.    The February 16, 2018 picture, on LeBron James’s Instagram account, captures a

sign within the Los Angeles offices of Uninterrupted.

       38.    Instagram is a premier social media and marketing platform, where Mr. James

boasts millions of followers from around the world.

       39.    This neon light sign got substantial coverage throughout the media when LeBron

James made this Instagram post.

       40.    This media conflict or dispute with news personality Laura Ingraham, gave

LeBron James and Uninterrupted the opportunity to use the mark “I AM MORE THAN AN

ATHLETE” in connection to LeBron James being “more” than a basketball player.

       41.    Uninterrupted then used “I AM MORE THAN AN ATHLETE” to sell

merchandise and as a part of their media content production services.

       42.    Game Plan sent Uninterrupted a cease and desist letter, which Uninterrupted

acknowledged.

                            The other Defendants joined in the harmful acts

       43.    Upon information and belief, Uninterrupted used “I AM MORE THAN AN

ATHLETE” in media content production with ESPN.

       44.    Upon information and belief, Uninterrupted used “I AM MORE THAN AN

ATHLTE” in videogaming with T2.

       45.    Upon information and belief, Uninterrupted used “I AM MORE THAN AN

ATHLETLE” in the sell of clothing with Nike.

       46.    Nike made t-shirts, hats, hoodies, sweatpants, and a basketball court, among other

things, with the use of “I AM MORE THAN AN ATHLETE” or a version of that phrase.

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       47.     ESPN used “I AM MORE THAN AN ATHLETE” to produce media content on

various outlets owned by EPSN, and to screen a documentary or short series of episodes using

the mark “I AM MORE THAN AN ATHLETE.”

       48.     The very popular National Basketball Association licensed videogame called

“NBA 2K” also used “I AM MORE THAN AN ATHLETE” in certain features of the

videogame.

                                            Who is Game Plan?

       49.     Game Plan was created in 2015, so that as an independent charitable organization

it could provide information, education, products, and services to young people trying to succeed

in athletics and as academics. Game Plan’s goal is to help the participants achieve their dreams

of a quality education, athletic career, and professional career, in sports or otherwise.

       50.      Game Plan, Inc. is the charitable provider of the media content for education and

entertainment programming, and t-shirts bearing the trademark.

       51.     Game Plan is listed as the owner for the U.S. Trademark Registration Number



5,487,497         , however each of the Defendants have used this mark, or a counterfeit, copy,

or colorable imitation of the mark to sell, market and promote goods and services to profit their

respective businesses. SEE APPENDIX at 1.

       52.     Game Plan has invested substantial resources in developing its products and

services. Due to the effectiveness of Game Plan’s marketing, products, and services, Game Plan

has generated substantial goodwill with its customers, consumers, and participants in its

programming, establishing a strong brand and developing the Game Plan name and the “I AM

MORE THAN AN ATHLETE. GP. GAME PLAN” mark within its channels of trade, with sales

of product nationally.



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       53.     Game Plan invested thousands of dollars in building and sustaining substantial

goodwill in the development and marketing of the mark.

       54.     Game Plan has a registered trademark representing the quality of its product and

services and its brand, including its 1st Place Affirmation, and common law rights for Game

Plan’s education programming and the “I AM MORE THAN AN ATHLETE” t-shirts with the




GP. GAMEPLAN logo:                  . SEE APPENDIX.

        55.    Game Plan has a 1st Place affirmation or Mantra which incorporates the phrase, “I

AM MORE THAN AN ATHLETE” and it produced an audiovisual commercial promoting the

organization that was distributed on YouTube, Facebook, and Instagram. SEE APPENDIX at 6-7.

       56.     Game Plan was featured in news articles and continues to put on programming in

high schools during afterschool hours. SEE APPENDIX at 8.

     57.       In 2017, Game Plan successfully aligned itself with professional sports

organizations to help the reach and exposure of the Game Plan goods and services.

     58.       Game Plan sells t-shirts to generate revenue, by selling the t-shirts to the public on

its website gameplaninc.org/buy-now/ and, to all the children that participate in the program.

     59.       Game Plan provides its programming to schools within the Washington, DC

metro area to provide its goods and services. SEE APPENDIX at 22.

     60.       Since October 2017, Game Plan has used the mark “I AM MORE THAN AN

ATHELTE GP. GAME PLAN” in the interstate stream of commerce with certain logos bearing

the name as a trademark to identify the goods and identify the organization as the sole source of

its goods and services.

     61.       In addition, Game Plan has continually used and promoted the mark, which the

Defendant Uninterrupted was aware.


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      62.       Notwithstanding that Game Plan has made continuous use of the mark, Game

Plan demanded for Uninterrupted to cease and desist from using its mark.

                                      The Defendants worked together

      63.       Upon information and belief, Uninterrupted, in July 2018, entered into

agreements with ESPN, NIKE, and T2, among others to use the “I AM MORE THAN AN

ATHLETE” mark.

      64.       Upon information and belief, NIKE admitted its use of “I AM MORE THAN AN

ATHLETE” is similar to Game Plan’s mark as it was being used for similar products and

services.

      65.       Upon information and belief, ESPN sought to protect itself against a potential

third-party claim regarding Uninterrupted’s use and ESPN’s use of “I AM MORE THAN AN

ATHLETE.”

      66.       Game Plan’s mark was known to the founder of Uninterrupted, LeBron James,

who first saw the mark in use, in Washington, D.C.

                                            Uninterrupted LLC

      67.       Uninterrupted was founded by the most famous basketball athlete in the world,

LeBron James.

      68.       Uninterrupted is a media production company that sells clothing products on its

website.

      69.       Uninterrupted creates media content by providing the human resources, concepts

and equipment required to make an audiovisual production.

      70.       Uninterrupted sells its content to third parties for distribution or partners with

third parties to distribute that content.

      71.       As a way to promote the brand of services for media content production,

Uninterrupted merchandized to market and generate revenue or profits, with third-party made

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products that include the wording “I AM MORE THAN AN ATHLETE” and “MORE THAN

AN ATHLETE.”

     72.        “I AM MORE THAN AN ATHLETE” and “MORE THAN AN ATHLETE”

clothing are being sold on Uninterrupted’s website at www.uninterrupted.com/store.

     73.        Uninterrupted’s founder, LeBron James, played a basketball game on October 8,

2017, where a group of Game Plan participants and its President and CEO attended, while each

wore a black “I AM MORE THAN AN ATHLETE” t-shirt, while meeting with John Wall

courtside during pre-game to take pictures as John Wall also spoke to the participants. (See

image below).




     74.        Upon information and belief, Uninterrupted went under a rebrand of its business

shortly after the October 8, 2017 basketball game, in November or December of 2017.

     75.        On February 16, 2018, by way of LeBron James’s Instagram account,

Uninterrupted released its new brand, by LeBron James posting a picture of a neon light sign

within Uninterrupted’s office, as a response to Laura Ingraham’s “shut up and dribble” comment.




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                                          Harm to Game Plan

     76.       Uninterrupted with the help of the most recognizable athlete in the world and the

most prominent athletic clothing company, and sport media content producer generated revenue

using a word mark that is nearly identical to Game Plan’s mark.

     77.       In March 2018, Uninterrupted screen printed “I AM MORE THAN AN

ATHLETE” on clothing and sold those clothing products on its online store.

     78.       In July 2018, Uninterrupted with ESPN began production of an audiovisual series

titled, “UNINTERRUPTED’s More than an Athlete” on the subject matter of LeBron James and

his business partners, with the use of the mark “I AM MORE THAN AN ATHLETE.”

     79.       That ESPN/Uninterrupted series was distributed internationally, which was used

to inform and educate viewers of how LeBron James and his business enterprises have been

successful beyond the athletic surface.




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     80.       In August 2018, Uninterrupted partnered or contracted with NIKE to begin the

production and retail of t-shirts, hoodies, shorts, socks and hats, with the use of the mark “I AM

MORE THAN AN ATHLETE” that are and were sold internationally.




     81.       At some time after August 2018, Uninterrupted partnered and contracted with T2

to begin the use of the “I AM MORE THAN AN ATHLETE” mark in connection with

characters within the T2 videogame production; and, that videogame is and was sold

internationally.




                                    FIRST CLAIM FOR RELIEF

            Trademark Infringement under the Lanham Act—15 U.S.C. § 1114 et. Seq.

     82.       Game Plan incorporates by reference each and every allegation set forth in

paragraphs 1 through 81 above.



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     83.       Defendants have used Game Plan’s trademarks in interstate commerce, including

Game Plan’s federally registered trademark for the word mark “I AM MORE THAN AN

ATHLETE. GP. GAME PLAN.”

     84.       By doing so, Defendants are likely to cause confusion, mistake, or deception as to

the origin, sponsorship, or approval of the fake and unauthorized versions of the goods and

services of Game Plan, Inc.

     85.       As a result of their wrongful conduct, Defendants are liable to Game Plan for

violation of the Lanham Act.

     86.       Game Plan seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial, not less than $33,000,000 USD.

     87.       As a direct result of Defendants’ actions, Game Plan has suffered and continues to

suffer irreparable harm for which it has no adequate remedy at law, and which will continue

unless Defendants’ actions are enjoined.

     88.       Defendants’ wrongful and unauthorized use of Game Plan’s trademarks to

promote, market, or sell products and services constitutes trademark infringement pursuant to 15

U.S.C. § 1114 et seq.

     89.       Uninterrupted sold t-shirts, other clothing, and media content using Game Plan’s

mark.

     90.       Nike sold clothing using Game Plan’s mark.

     91.       ESPN produced and distributed media content using Game Plan’s mark.

     92.       T2 sold video games using Game Plan’s mark.

     93.       Each Defendant’s use of Game Plan’s mark was a wrongful and an unauthorized

use of Game Plan’s mark.




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                                  SECOND CLAIM FOR RELIEF

     94.       Game Plan incorporates by reference each and every allegation set forth in

paragraphs 1 through 93 above.

     95.       Game Plan’s registered trademarks are distinctive marks that are associated with

Game Plan and exclusively identify its business, products, and services.

     96.       Defendants make unauthorized use of Game Plan’s trademarks. By doing so,

Defendants create a colorable imitation and false designations of origin as to tainted Game Plan

products that are likely to cause confusion, mistake, or deception.

     97.       As a result of their wrongful conduct, Defendants are liable to Game Plan for

violation of the Lanham Act, 15 U.S.C. § 1125(a).

     98.       Game Plan seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial.

     99.       As a direct result of Defendants’ actions, Game Plan has suffered and continues to

suffer irreparable harm for which they have no adequate remedy at law, and which will continue

unless Defendant’s actions are enjoined.

                                    THIRD CLAIM FOR RELIEF

                 Trademark Dilution under the Lanham Act—15 U.S.C. § 1125(c)

     100.      Game Plan incorporates by reference each and every allegation set forth in

paragraphs 1 through 99 above.

     101.      Game Plan’s trademark was gaining fame and strongly associated with Game

Plan, and exclusively identify its business, products, and services.

     102.      Defendants make unauthorized use or colorable imitation of Game Plan’s

trademark. By doing so, Defendants are likely to cause dilution by tarnishment of Game Plan’s

trademarks.



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   103.        Game Plan seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial, not less than $33,000,000 USD.

   104.        As a direct result of Defendants’ actions, Game Plan has suffered and continues to

suffer irreparable harm for which they have no adequate remedy at law, and which will continue

unless Defendants’ actions are enjoined.

                                FOURTH CLAIM FOR RELIEF

                                        Unfair Competition

   105.        Game Plan incorporates by reference each and every allegation set forth in

paragraphs 1 through 104 above.

   106.        The acts of Defendants complained of herein constitute unfair competition at the

expense of Game Plan in violation of the common law. Defendants used, without authorization

or license, Game Plan’s trademarks in a deceptive manner likely to mislead customers into

falsely believing Defendants’ conduct was that of Game Plan. Or alternatively, diverted

customers away from use of Game Plan’s products and services, as Defendants conspired to

promote the trademarks in conjunction with their own brands and products.

   107.        Defendants’ actions have irreparably injured Game Plan by tarnishing its

reputation with its customers. Game Plan has cultivated good-will with customers at great

expense over the years.

                                   FIFTH CLAIM OF RELIEF

                                           Unjust Enrichment

   108.          Game Plan incorporates by reference each and every allegation set forth in

paragraphs 1 through 107 above.

   109.        The acts of Defendants complained of herein constitute unjust enrichment of the

Defendants at the expense of Game Plan in violation of the common law. Defendants used,

without authorization or license, a trademark belonging to Game Plan to facilitate unlawful

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conduct of selling products and distributing content inuring to the benefit of Defendants. In this

manner, Game Plan conferred a benefit on the Defendants.

   110.        Defendants retained the benefit of and profited unjustly from their unauthorized

and unlicensed use of Game Plan’s intellectual property.

   111.        Upon information and belief, Defendants had an appreciation and knowledge of

the benefit they derived from their unauthorized and unlicensed use of Game Plan’s intellectual

property.

   112.        Retention by the Defendants of the benefit and profits they derived from their

malfeasance would be inequitable and unjust.

   113.        Game Plan seeks injunctive relief and compensatory and punitive damages in an

amount to be proven at trial, not less than $33,000,000 USD.

   114.        As a direct result of Defendants’ actions, Game Plan suffered and continues to

suffer irreparable harm for which no adequate remedy at law exists, and which will continue

unless Defendants’ actions are enjoined.



                                         PRAYER FOR RELIEF

       WHEREFORE, Game Plan prays that the Court:

       1.      Enter judgment in favor of Game Plan and against the Defendants.

       2.      Declare that Defendants’ conduct has been willful, and that Defendants have

acted with fraud, malice, and oppression.

       3.      Enter a preliminary and permanent injunction enjoining Defendants and their

officers, directors, principals, agents, servants, employees, successors, and assigns, and all

persons and entities in active concert or participation with them, from engaging in any of the

activity complained of herein or from causing any of the injury complained of herein and from



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assisting, aiding or abetting any other person or business entity in engaging in or performing any

of the activity complained of herein or from causing any of the injury complained of herein.

         4.     Enter a preliminary and permanent injunction giving Game Plan control over the

instrumentality used by the Defendants to cause injury and enjoining Defendants from using

such instrumentalities.

         5.     Enter judgment awarding Game Plan actual damages from Defendants, adequate

to compensate Game Plan for Defendants’ activity complained of herein and for any injury

complained of herein including but not limited to interest and costs, in an amount to be proven at

trial.

         6.     Enter judgment disgorging Defendants’ profits.

         7.     Enter judgment awarding enhanced, exemplary and special damages, in an

amount to be proven at trial.

         8.     Enter judgment awarding attorneys’ fees and costs, and order such other relief

that the Court deems just and reasonable.



                                    DEMAND FOR JURY TRIAL

                Pursuant to Federal Rule of Civil Procedure 38, Game Plan demands trial by jury

for all claims triable by jury.

         Dated: June 15, 2020                        Respectfully Submitted,


                                                     /s/ Ryan L. Jones
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                 __________________________________________________

                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
                            ___________________________________

                                     GAME PLAN, INC.,

                                                   Plaintiff,

                                             v.

                                UNINTERRUPTED LLC et al.,

                                                  Defendants,

                            _________________________________

                             $0(1'('COMPLAINT APPENDIX

                                _____________________________



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Reg. No. 5,487,497         Game Plan, Inc. (MARYLAND CORPORATION)
                           5557 Baltimore Ave Ste 500-1062
Registered Jun. 05, 2018   Hyattsville, MARYLAND 20781

                           CLASS 36: Charitable fundraising services by means of selling t-shirts to raise funds for
Int. Cl.: 36               educational and entertainment programs

Service Mark               FIRST USE 12-13-2016; IN COMMERCE 10-8-2017

Principal Register         The mark consists of the wording "I AM MORE THAN AN ATHLETE." in stylized font.
                           The wording "I AM MORE" is on the first line, "THAN AN" is on the second line, and
                           "ATHLETE" is on the third line. Beneath this wording are the stylized letters "GP" between
                           the arrows. The arrow on the left is bent at an angle. Beneath the arrows and the letters "GP"
                           is the term "GAMEPLAN" in stylized font.

                           SER. NO. 87-282,825, FILED 12-28-2016




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     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION

  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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                                                                                            January 2, 2017



                                Press Release
        Game Plan, Inc., I Am More Than an Athlete Town Hall Discussion

Date/Time: February 15, 2017, 6:00 pm – 8:00 pm

Location: Charles Herbert Flowers High School, 10001 Ardwick Ardmore Rd, Springdale, MD 20774

Contact: Mr. David Upchurch
         david@gameplaninc.org, 301-204-0212

For Immediate Release:

Game Plan, Inc. will host the “I Am More Than an Athlete” Town Hall, a formal discussion on February 15,
2016 for local area high school and middle school athletes. The event, which will be held at Charles Herbert
Flowers High School, located at 10001 Ardwick Ardmore Rd, Springdale, MD 20774, geared towards
helping student athletes learn how to establish game plans for life after high school and college.

During the event, a diverse panel consisting of former collegiate athletes as well as current and former
professional athletes will address questions as how one should transition to life after sports, what it takes
to make it to the next level, and how sports impacted their lives.

“This event will be a great opportunity for student athletes to learn from individuals whom they aspire to
be one day and hear their personal stories that made them successful. Hopefully, after leaving this event
they will be even more inspired to chase their dreams,” said Sam Sesay, Game Plan’s Founder & President.
To register for this event, contact David Upchurch at (301) 204-0212.



About Game Plan, Inc.
Game Plan, Inc., is a registered 501 (c)(3) non-profit organization. We are a life skills program aimed at
assisting student athletes with strategies to be 1st PLACE on and off the field. Our goal is to serve as an
extension to a high school’s athletic program, working with the Athletic Director, coaches, and athletes
to develop dynamic programs. Our 1st PLACE programs focus on Personal development, Leadership
development, Athletic excellence, College preparedness, and Entrepreneurship training through
community service. To find out more information on Game Plan, please visit us at
www.gameplaninc.org. For media inquiries, contact info@gameplaninc.org.




                   Website: www.gameplaninc.org               Email: info@gameplaninc.org

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Game Plan’s participants photographed with John Wall, on October 8, 2017 prior to the
Cleveland Cavaliers vs. Washington Wizards pre-season basketball game.




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Link to Game Plan’s “I AM MORE THAN AN ATHLETE” Commercial.


https://www.youtube.com/watch?time_continue=17&v=OdvuPRwsGZM&feature=emb_title


Link to LeBron James promoting that he is “I AM MORE THAN AN ATHLETE.”


https://www.youtube.com/watch?time_continue=2&v=OSEUJyUvJRU&feature=emb_title




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                               1st PLACE Affirmation
                                               I am Priceless
                                           I am a Leader
                         I am more than an Athlete
                                          I am a Champion
                                            I am Exceptional


   My Game Plan –
S This school year I will:
T
U
  To accomplish this, I will:
D
E
N
T




   My Game Plan –
A This season I will:
T
H
L To accomplish this, I will:
E
T
E




   * It won’t be easy but you must stick to your game plan. There will be challenges and distractions along the
   way, but you have to stay focused. Don’t give up don’t quit or throw in the towel. Keep fighting, keep working,
   keep believing. You will be in first place!
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The nonproﬁt Game Plan, Inc., engages student-athletes to be leaders on and off the ﬁeld. Founder Sam Sesay spoke recently to
football players at Eleanor Roosevelt High School in Greenbelt, Maryland. Photo by Dayo Kosoko/The Art Hype

Every year around this time, I get excited about the upcoming events and programming with Game Plan. This school year is the            App.   p.8
most enthusiastic I have ever been because we have great things in store to ensure our student athletes are primed for success on and
off the ﬁeld.
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Read More




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How to empower student athletes to lead their communities

One reason for my excitement: we will be kicking off the “I Am More Tha
in the making and we are looking forward to revealing it to the kids who are part of our program.

“I Am More Than an Athlete,” is not just a statement, it’s an afﬁrmation. We want every student in our program to know and
believe they are so much more than athletes. They are leaders, scholars, and future college graduates. Their sport and their athletic
ability will not deﬁne them.

We want every student in our program to know and believe they are so much more than athletes. They are leaders, scholars, and
future college graduates.

We want our students to reﬂect on what makes them more than athletes. We want them to understand their athletic careers will
someday end, so they must plan now for their futures.

Like many youth, I had dreams of being a professional athlete. I did not have any other future aspirations. While I did well in
school, I was always focused on being a great athlete and someday making it to the NFL. It didn’t matter what team I played for, but
it would be icing on the cake if I could play for my hometown team, the Washington Redskins.

It wasn’t until I broke my leg for the second time that my life goals began to shift. While going pro would be an amazing
accomplishment, I realized that at any given play, I could get severely injured and not be able to play again. I started to think of
other careers—I loved the thought of one day being a business owner. I no longer viewed myself as “just an athlete.”

Read More




                                                                                                                          App. p.11
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How to empower student athletes to lead their communities

Unfortunately, many of my peers didn’t have that same realization. Their g
nothing, basketball or nothing. They didn’t accomplish their goals of making it pro and they never had a plan B; they struggled to
adjust. They didn’t realize they had so much more to offer than what they could do on the ﬁeld or the court. This is ultimately why I
formed Game Plan, Inc., to provide student athletes with opportunities to think about and prepare for their futures outside of their
sport.

Not every student will have that epiphany moment like I had, so we provide 1st P.L.A.C.E. programming on personal development,
leadership development, athletic excellence, college prep, and entrepreneurship training to assist them on their one day transition to
life after sports.

A key component of our programming is allowing student athletes to hear stories of former athletes who have successfully
maneuvered from athlete to lawyer, to accountant, to teacher, to artist, to chef, to entrepreneur, and other careers. These mentors
inspire our current athletes to believe in themselves and to use their stories as a blueprint for their future success.

Many people say our youth are not prepared to enter the workforce, lack necessary life skills, or simply do not care. Instead of just
pointing out these issues, Game Plan is attempting to be a part of the solution. Just asking the simple question, “how are you more
than an athlete?” has sparked great conversations and insights. This school year will be fun.




Sam Sesay
Founder of Game Plan, Inc.

Sam Sesay is the founder and president of Game Plan, Inc. He is a former NCAA Division 1 All-American track and ﬁeld athlete
and team captain. Sesay holds a Masters in Entrepreneurship from Southern Methodist University and a Bachelor of Science degree
in Information Management from George Mason University. His professional background includes time as a software engineer and             App.   p.13
a program manager/project manager consultant for multiple Fortune 500 companies and federal government agencies. Sesay also
was a high school track coach, where during his four-year tenure, he led his team to two state championship titles, two runner-up
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state championship ﬁnishes, and multiple school and county records. Many of his athletes received athletic and academic
scholarships to major universities. Sesay is happily married to Kristina Ses




                                                     @iamsamsesay




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http://www.therenewalproject.com/tapping-the-awesome-power-of-the-student-athlete-off-the-fiel
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                                                                                    Alexandria, Virginia



                                                                   iamjamesanthony It's a wrap in the
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                                                                   high school doing good by their
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                                           ABOUT US SUPPORT PRESS API JOBS
                                                                   movement to inform student athletes
                                           PRIVACY TERMS DIRECTORY the importance of being
                                                                    PROFILES
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Uninterrupted (LeBron James) as compared to Game Plan:




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